Case:17-03283-LTS Doc#:19226-2 Filed:11/15/21 Entered:11/15/21 18:36:03   Desc:
                           Exhibit B Page 1 of 4



                                 EXHIBIT B

                        Marchand Engagement Letter
  Case:17-03283-LTS
  Case:17-03283-LTS Doc#:19226-2  Filed:11/15/21 Entered:09/12/17
                    Doc#:1280-2 Filed:09/12/17     Entered:11/15/2116:28:27
                                                                    18:36:03 Desc:
                                                                             Desc:
                             Exhibit B  Page  2 of
                              Exhibit A Page 2 of 44




September 5, 2017

OFFICIAL RETIREE COMMITTEE/ PUERTO RICO
MR. ROBERT D. GORDON, ESQ.
MR. HÉCTOR MAYOL, ESQ.


              CONSULTING SERVICES PROPOSAL – INFORMATION AGENT


In order to formalize the relationship between Marchand ICS Group (MICS) and the Official
Committee of Retired Employees of the Commonwealth of Puerto Rico (the “Retiree Committee”),
below please find the scope of work as presented in our July 18th meeting and discussed and agreed
in our meeting on August 8th.

   •   Research and analyze documents related to the project
   •   Develop Key Messages, presentations and documents that will serve the objective of educating
       through factual information about our key audience
   •   Define and design Digital Media Platforms that will cover Facebook, web page needs
   •   Follow Media & Social Media Monitoring Analysis that could impact the Retiree Committee
       efforts
   •   Reach and participate with key stakeholders to the Retiree Committee goals and objectives that
       best serve Puerto Rico.
   •   Total integration with the Retiree Committee and their advisors, designing and implementing
       comprehensive communication plans that are aligned with their short and long-term goals
   •   Serve as a liaison between the Retiree Committee and the local media and implementing media
       plans
   •   Ongoing assessment of public issues and discussion that can impact the Retiree Committee’s
       goals and objectives and provide recommendations on how to address them
   •   Support the Retiree Committee within key sectors to further their strategic information plan




                                                 1/3
  Case:17-03283-LTS
  Case:17-03283-LTS Doc#:19226-2  Filed:11/15/21 Entered:09/12/17
                    Doc#:1280-2 Filed:09/12/17     Entered:11/15/2116:28:27
                                                                    18:36:03 Desc:
                                                                             Desc:
                             Exhibit B  Page  3 of
                              Exhibit A Page 3 of 44




 MICS provides services under the following arrangement:

 Fees For Recurring Services Described Above

                                                                               Hourly Rate
 Principal                                                                     $    175.00
 Project Manager                                                               $    125.00
 Business Editor                                                               $    110.00
 Media Manager                                                                 $     95.00

 MICS will bill its hourly rates in 1/10 hour increments,
 subject to a monthly cap of $25,000.


Fees for Non-Recurring Services

           •   Signage Design
                  o Creation of a signage identity to simplify information management from the
                     Retiree Committee to their audience.
                         ▪ Estimated- $850.00
           •   Website Hosting
                  o Hosting service and domains according to digital platform
                         ▪ Estimated- $250.00
           •   Website Creation
                  o Creation fee that will support information objectives
                         ▪ Estimated- $4,500.00
           •   Facebook
                  o Design and startup
                         ▪ Estimated- $1,500.00
           •   Other Expenses
                  o As necessary and directed by the Retiree Committee, targeted dissemination of
                     information to retirees.

The Non-Recurring Services are subject to the Retiree Committee’s needs but will be subject to an annual
cap of $50,000, subject to modification with Court approval.

Billing, with all supporting evidence, will be on a monthly basis, subject to the compensation procedures
of the Court.


                                                   2/3
  Case:17-03283-LTS
  Case:17-03283-LTS Doc#:19226-2  Filed:11/15/21 Entered:09/12/17
                    Doc#:1280-2 Filed:09/12/17     Entered:11/15/2116:28:27
                                                                    18:36:03 Desc:
                                                                             Desc:
                             Exhibit B  Page  4 of
                              Exhibit A Page 4 of 44




This working proposal serves as a map, but does not limit any additional request that the Retirees
Committee and its advisors may have in order to achieve and fulfill a well-executed information plan,
subject to the compensation limits set forth above or as may be modified subsequently with Court
approval.

MICS, is committed to become a partner to the Retiree Committee by providing them with the respect that
undertaking this challenging endeavor requests.

This proposal remains subject to Court approval.




 X                                                       X
 Mr. José Marín                                          Mr. Jorge E. Marchand
 President of the Official Retiree Committe              Principal Marchand ICS Group




                                                   3/3
